
34 Mich. App. 97 (1971)
190 N.W.2d 734
SHAMIE
v.
GROSSMAN
Docket No. 9749.
Michigan Court of Appeals.
Decided May 25, 1971.
John Cozart, Jr., for plaintiff.
Hyman &amp; Rice, for defendants.
Before: DANHOF, P.J., and FITZGERALD and QUINN, JJ.
PER CURIAM.
Plaintiff filed an action on the promissory note of defendants. They moved for accelerated judgment on the basis of payment, GCR 1963, 116.1(5), and supported the motion with an *98 appropriate affidavit. Although afforded ample opportunity by way of amendment and discovery, plaintiff did not rebut the allegations of payment contained in defendants' affidavit, and accelerated judgment in their favor entered.
The trial judge was justified in accepting the facts stated in defendants' affidavit as true, People, ex rel. Thornton Construction Company, Inc., v. United States Fidelity &amp; Guaranty Company (1967), 8 Mich App 540. Those facts support a finding of payment.
Affirmed.
